Case 2:12-cv-06769-PA-AJW Document 29 Filed 08/17/12 Page 1 of 18 Page ID #:121
Case 2:12-cv-06769-PA-AJW Document 29 Filed 08/17/12 Page 2 of 18 Page ID #:122



1                                 FIRST AMENDED COMPLAINT
2          Plaintiff Tech-4-Kids, Inc. ("Plaintiff'), by its undersigned counsel, hereby brings
J    the following First Amended Complaint ("FAC") against Defendant Sport Dimension,
4    Inc. ("Defendant") and avers as follows:
5                                         INTRODUCTION
6          1.     This is an action based on Defendant's blatant, unlawful, and malicious
7    misappropriation     of Plaintiffs   valuable proprietary and confidential information.
 8   Defendant pretended to be a friendly potential distributor for Plaintiff s snow bikes in
 9   order to extract   Plaintifls proprietary   and confidential information. Defendant used thi

10   ill-gotten proprietary andlor confidential information        to illegally   imitate Plaintiffs
11   pioneering snow bikes and sell them to Plaintiff s customers and prospective customers,
t2 thereby wrongfully interfering with Plaintiffl s commercial relationships.
13                                          THE PARTIES
t4         2.     Plaintiff Tech-4-Kids, Inc. is a corporation organized under the laws of the
15   Province of Ontario, Canada, having its principal place of business at 1200 Aerowood
t6 Drive, Unit 28, Mississauga, Ontario, CanadaL{W 257.
t7         3.     Upon information and belief, Defendant Sport Dimension, Inc.                 is

18   corporation organlzed under the laws of the State of Califomia, having its principal p
t9 of business at 966 Sandhill Avenue, Carson, California 90746.
20                                  JURISDICTION AND VENUE
2I         4.     This Court has jurisdiction of the subject matter of this action under 28
22   U.S.C. $ 1332 in that the matter in controversy exceeds the sum or value of $75,000,
23   exclusive of interest and costs, and is between a citizen of a foreign state and a citizen o
     the State of Califomia.
25          5.    This Court has personal jurisdiction over Defendant because, on information
26 and    belief Defendant resides in this judicial district, regularly transacts business in this
27   judicial district, derives revenue from goods sold and used in this judicial district, and
28   committed acts complained of herein in this judicial district.

                          FIRST AMENDED COMPLAINT IDEMAND FOR ruRY TRIAL]
Case 2:12-cv-06769-PA-AJW Document 29 Filed 08/17/12 Page 3 of 18 Page ID #:123



1           6.      Venue in this Court is proper pursuant to 28 U.S.C. $ 1391(b)-(c). In
2    addition, Defendant consented to transferring this action to this Court.    ,See   Dkts.   2l   and

J    22.
                                          BACKGROUND
5           7.      Plaintiff designs, manufactures and sells innovative toys and other products
6    for children, including their pioneering snow bike products. Over the past five            years,

7    Plaintiff has spent approximately $300,000 and numerous man hours developing
 I   testing snow bike designs, as well as the production and marketing of such products.
 9   Plaintiffls snow bikes are the first of their kind, are completely different in design from
10   conventional sleds, and created an entirely new market.
1l          8.      Plaintiff designs, manufactures, markets, and currently sells snow bi
t2 worldwide, including those depicted in Exhibit A.
13          9.      Defendant, as claimed on its website at www.sportdimension.com (Exhibit
t4 B), is  in the business of designing and producing water sports related products with
15   focus on wetsuits, flotation vests, and body boards. Defendant's website does n
l6 mention or disclose any snow bike or knowledge thereof.
T7          10.     On information and belief, in order to quickly enter the newly created snow
18   bike market, Defendant pretended to be an interested distributor and partner of Plainti
T9   in order to obtain valuable proprietary andlor confidential information regarding the
20   snow bike products developed by Plaintiff. On or about March 3, 2009, Kurt Rios
2T   (ooRios"),   the President of Defendant, contacted Brad Pedersen ("Pedersen"),                  the

22 President      of Plaintiff. Rios represented that Defendant had seen some of Plaintifls snow
23   bike products and was very interested in becoming Plaintiffls distributor in the United
24   States. During March of 2009, Plaintiff and Defendant established a confidential
25   relationship ("Confidential Relationship"), during which Plaintiff disclosed valuable
     proprietary andlor confidential information to Defendant, including pricing, margin,
27   marketing, customer, and product design information ("Confidential Information").
28   During the parties' discussions, Plaintiff provided Defendant with information regarding

                         FIRST AMENDED COMPLAINT IDEMAND FOR       ruRY TRIAL]
Case 2:12-cv-06769-PA-AJW Document 29 Filed 08/17/12 Page 4 of 18 Page ID #:124



 I Plaintiff s general and special wholesale pricing, distributor profit margin, existing
 2   prospective customers,     the design of PlaintifÎs new snow bike product            under
 J   development at the time, as well as a o'cost sheet." Plaintiff expressly advised Defendant
 4   that the information was being provided on a confidential basis. In addition, under the
 5   circumstances, there was an implied understanding that the information provided by
 6   Plaintiff to Defendant during the course of their negotiations regarding Defendant's
 7   distribution of Plaintiff s snow bike products would be kept confidential.
 8         11.    On or about March 17,2009, Rios accepted the negotiated pricing and othe
 9   terms provided by Pedersen, and requested samples of PlaintifPs snow bikes, includi
10   the one that was under development at the time. Relying on Rios' representations
11   believing that the parties had reached a distribution affangement, Plaintiff provided
I2 Defendant with samples       of its existing snow bikes and mockups of the new snow bike
13   that was under development.
T4         12.    One of the terms agreed on by the parties was that Defendant would not

15   market the snow bike products to certain retailers in the United States, including Costco
t6 Wholesale Corp. ("Costco U.S."). Plaintiff had advised Defendant that Plaintiff had a
t7 pre-existing relationship with Costco Canada and intended to market its products directly
18   to Costco U.S.
t9         13. After obtaining the Confidential Information          and receiving snow bike
20 samples    from Plaintiff, Defendant informed Plaintiff that there was not a single retail
2l buyer in the United States for Plaintiff s snow bikes.
22         14.    Unbeknownst to Plaintiff, Defendant secretly developed and manufactured
23   remarkably similar snow bike product, despite representing to Plaintiff that not a single
24   retailer in the United States was interested in such a product. Upon information and
25   belief, Defendant used the confidential design information provided by Plaintiff to design
26 and develop its competing snow bike product.
                  'Worse,
27         15.              upon information and beliet in 2010 to 2011, Defendant offered its
28 competing snow     bike product to Plaintiff s customer, Costco U.S., whom Defendant had

                       FIRST AMENDED COMPLAINT IDEMAND FOR ruRY TRIAL]
 Case 2:12-cv-06769-PA-AJW Document 29 Filed 08/17/12 Page 5 of 18 Page ID #:125



 I previously agreed         not to approach when the parties were negotiating and finalizing the
2    terms of their distribution arrangement.
J           16.   Plaintiff had an existing relationship with Costco Canada and Costco U.S.
4    In 2009 to 2010, Costco U.S. carried Plaintiff            s   popular snow bike product. The product
 5   was so successful that      it quickly sold out, causing Costco U.S. to order additional units
 6   from Plaintiff for that season.
 7          17.   However, in 2010 to 2011, Costco U.S. decided to stop carrying Plaintifl
 8   snow bike products, and instead, began selling Defendant's snow bike. Upon
 9   information and belief, Defendant used the confidential pricing and margin information
10   provided by Plaintiff to obtain an unfair commercial advantage and to undercut Plaintiff             s

11   pricing, thereby enticing Costco U.S. to carry Defendant's product instead.
t2          18. As a result of Defendant's fraudulent conduct and misappropriation                       o

13   Plaintiffls trade secrets, Plaintiff lost in excess of $1.5 million in sales.
t4                                    FIRST CLAIM FOR RELIEF
15                                             (Fraud and Deceit)
T6          19.   Plaintiff repeats and re-alleges each and every allegation contained in
t7 Paragraphs     1   to   18 of this FAC as   if fully   set forth herein.

18          20.    In March 2009, Rios represented to Pedersen orally andlor in writing that (1)
T9   Defendant was interested        in a partnership with Plaintiff for the sale and distribution       o

20   Plaintiffls sno\ry bike products in the United States; (2) Defendant would act as Plaintiff             s

2T   distributor and would promote and market Plaintiff s snow bike products to retailers in
22   the United States; and (3) Defendant would not market the products to an agreed list o
23   retailers, including Costco U.S., whom Defendant understood would be approached
     directly by Plaintiff (the'oRepresentations").
25          2I.    Upon information and belief, the Representations were false at the time they
2    were made. Defendant had no intention                 of acting   as Plaintiff s distributor and had no

27   intention of promoting Plaintiff s products in the United States. The Representations
28


                            FIRST AMENDED COMPLAINT IDEMAND FOR ruRY TRL{L]
Case 2:12-cv-06769-PA-AJW Document 29 Filed 08/17/12 Page 6 of 18 Page ID #:126



 1   were made with the intent of inducing Plaintiff to disclose Confidential Information
 2   regarding its snow bike products to Defendant.
 J         22.    Upon information and belief, Defendant knew the Representations were
 4   false at the time they were made, or exhibited an utter and reckless disregard for whether
 5   the statements were true.
 6         23.    Defendant also intentionally failed          to   disclose that   it   was planning,
 7   designing and/or developing a competing snow bike product.
 8         24.    The Representations and omissions were material. Had Plaintiff known that
 9   Defendant had no intention of promoting Plaintiffls products, and in fact had plans to
10   develop a competing product, Plaintiff never would have negotiated a distribution
11   arrangement with Defendant or provided Defendant with Plaintiffs Confidential
I2 Information.
13         24.    Plaintiff reasonably and justifiably relied on Defendants' Representations,
t4 and as a result, provided Defendant with Plaintiff s Confidential Information.
15         25.    As a direct and proximate result of Defendant's fraud, Plaintiff has been
t6 damaged in excess of $1.5 million, the exact amount of which shall be proven at"trial.
t7         26.    In addition, Plaintiff is entitled to an award of punitive or exemplary
18   damages against Defendant, because in committing the misdeeds described above,

T9   Defendant acted in conscious disregard of the rights of Plaintiff, with the intent to injure
20   and defraud Plaintiff, and otherwise acted with malice, fraud, or oppression in the

2t and fashion described herein.
22                                SECOND CLAIM FOR RELIEF
23                    (Interference With Prospective Economic Advantage)
24         27.    Plaintiff repeats and re-alleges each and every allegation contained in
25   Paragraphs   I to 18 of this FAC as if fully   set forth herein.

26         28. Plaintiff had an economic relationship with Costco Canada and Costco U.S.
27   which would have resulted in future economic benefits to Plaintiff. In fact, in 2009-
28   2010, Costco U.S. (as well as Costco Canada) was carrying Plaintiffs snow bike

                        FIRST AMENDED COMPLAINT IDEMAND FOR ruRY TRIAL]
Case 2:12-cv-06769-PA-AJW Document 29 Filed 08/17/12 Page 7 of 18 Page ID #:127



    1   products, and ordered additional units when those products sold out that season. Co
    2   U.S. had informed Plaintiff that the snow bike products were extremely successful.
    J   Plaintiff also received favorable feedback at sales presentation meetings with Costco. As
    4 a   result, Plaintiff reasonably expected to sell additional products to Costco in 2010-2011.
    5            29.   Defendant knew       or should have known of Plaintiffls        relationship with
    6   Costco Canada and Costco U.S. In fact, Defendant had agreed that it would not approach
    7   the Costco entities for business relating to snow bikes with the understanding that
    8   Plaintiff would be marketing to the Costco entities directly.
                 30.   Defendant intended to disrupt, and succeeded in disrupting, Plaintiff s actual
10      and potential relationship with Costco U.S. by engaging in the wrongful acts described
11      herein, including using Plaintiffs Confidential Information           to   design and develop   a

t2 competing snow bike product, and fuither using Plaintiff s Confidential Information t
13      uncut Plaintiff   s   pricing.
t4               31.   Defendant's conduct was wrongful because, without limitation, it breached
15      its agreement not to approach Costco, it engaged in a fraudulent scheme to               extract

16      information about Plaintiffs snow bike products, and            it   misappropriated Plaintiffs
T7      Confi dential Information.

18               32.   As a result of Plaintiff s wrongful conduct, tn 2011, Costco declined
1       purchase   Plaintiffs snow bikes, electing instead to carry Defendant's competing          snow

20 bike product.

2T               33.   As a direct and proximate cause of Plaintiff s wrongful conduct, Plainti
22 has been damaged             in excess of $1.5 million, the exact amount of which shall be proven at
23      trial.
24               34. In addition, Plaintiff is entitled to an award of punitive or exemplary
25      damages against Defendant, because            in   committing the misdeeds described above,
        Defendant acted in conscious disregard of the rights of Plaintiff, with the intent to injure
27 and defraud         Plaintiff, and otherwise acted with malice, fraud, or oppression in the manne
28      and fashion described herein.


                               FIRST AMENDED COMPLAINT IDEMAND FOR       ruRY TRIAL]
Case 2:12-cv-06769-PA-AJW Document 29 Filed 08/17/12 Page 8 of 18 Page ID #:128



    1                                      THIRD CLAIM FOR RELIEF
 2                              (Misappropriation of Trade Secrets by Defendant)
 a
 J            35.    Plaintiff repeats and re-alleges each and every allegation contained in
 4      Paragraphs   1   to 18 of this FAC    as   if fully   set forth herein.

 5            36.    Plaintiffs Confidential Information derives independent economic                  value,

 6      actual or potential, from not being generally known to the public, and not being readily
 7      ascertainable    by proper means by persons who can obtain economic value from its
 I      disclosure or use, including Plaintiff s competitors.
              37.    Plaintiff used efforts that were reasonable under the circumstances to
10      maintain the confidentiality of the Confidential Information, including asking Defen
il      to maintain the confidentiality of the information provided.
T2            38. In violation of California's Uniform Trade Secrets Act, California Civil
13      Code ç 3426, et seq., Defendant misappropriated                PlaintifÎs Confidential Information by
T4      using the Confìdential Information without Plaintiff s express or implied consent even
15      though Defendant knew or had reason to know that the Confidential Information was
I6 acquired under circumstances giving rise to a duty to maintain its secrecy or to limit its
t7 use.
18            39.    As a direct and proximate cause of Defendant's wrongful acts, Plaintiff has
t9 been damaged            in   excess   of $1.5 million, the exact amount of which shall be proven at
20      trial. In addition, Defendant has been unjustly enriched by the misappropriation.
2T             40. Upon information and belief, Defendant will                        continue   to   use th
22 misappropriated          Confidential Information unless enjoined by this Court.
23             41.   Plaintiff has been, and will continue to be, damaged and irreparably harmed
24      by the actions of Defendant. Thus, Plaintiff is entitled to preliminary and permanen
25      injunctive relief, damages in an amount no less than $1.5 million, costs, interest, and
26      attomeys' fees. Defendant's conduct also was willful and malicious, and pursuant t
2       California Civil Code ç 3426.3, Plaintiff is entitled to recover exemplary damages of
28      least $3 million.


                                FIRST AMENDED COMPLAINT IDEMAND FOR ruRY TRIAL]
    Case 2:12-cv-06769-PA-AJW Document 29 Filed 08/17/12 Page 9 of 18 Page ID #:129



                                        PRAYER FOR RELIEF
      WHEREFORE, Plaintiff prays for judgment           as follows:

            A.       That judgment be entered in favor of Plaintiff.

            B.       That a preliminary, and thereafter, a perrnanent injunction be          entered

      enjoining Defendant, its officers, directors, agents, servants, employees, representatives,
      attorneys, related companies, affiliates, websites, successors, assigns, and     all others in
      active concert or participation with them from disclosing or using Plaintiff s Confidential
      Information.
            C.       Awarding Plaintiff actual damages in an amount no less than $1,500,000;
1           D.       Awarding Plaintiff punitive andlor exemplary damages in an amount no less
11    than $3,000,000;

l2          E.       Awarding Plaintiff reasonable attorneys' fees;
l3          F.       Awarding Plaintiff pre-judgment and post-judgment interest on its damag
t4 together with all costs and expenses;
15          G.       Granting Plaintiff any other and further relief as the Court may deem just
l6 and proper.
t7
      DATED: August 17,2012                    GREENBERG TRAURIG, LLP
18

t9
                                               By:
20
                                                     Valerie'W. Ho
2T                                                   Jeffrey F. Yee
                                                     Attorneys for Plaintiff Tech-4-Kids, Inc.
22

¿3

24

25

26

27

28


                          FIRST AMENDED COMPLAINT IDEMAND FOR JURY TRIAL]
Case 2:12-cv-06769-PA-AJW Document 29 Filed 08/17/12 Page 10 of 18 Page ID #:130


                                    DEMAI\D FOR JURY TRIAL
           Pursuant to Rule 38(b), Fed. R. Civ. P., Plaintiffs demand a trial by jury of any

     issue triable of right by a jury.


     DATED: August 17,2012                  GREEI\BERG TRAURIG, LLP



                                                Valerie'W. Ho
                                                Jeffrey F. Yee
                                                Attorneys for Plaintiff Tech-4-Kids, Inc.



11

l2
13

T4

l5
I6
t7
18

T9

20

2l
22

23

24

25

26

27

28


                         FIRST AMENDED COMPLAINT IDEMAND FOR ruRY TRIAL]
Case 2:12-cv-06769-PA-AJW Document 29 Filed 08/17/12 Page 11 of 18 Page ID #:131
Case 2:12-cv-06769-PA-AJW Document 29 Filed 08/17/12 Page 12 of 18 Page ID #:132
Case 2:12-cv-06769-PA-AJW Document 29 Filed 08/17/12 Page 13 of 18 Page ID #:133
Case 2:12-cv-06769-PA-AJW Document 29 Filed 08/17/12 Page 14 of 18 Page ID #:134
Case 2:12-cv-06769-PA-AJW Document 29 Filed 08/17/12 Page 15 of 18 Page ID #:135
Case 2:12-cv-06769-PA-AJW Document 29 Filed 08/17/12 Page 16 of 18 Page ID #:136
Case 2:12-cv-06769-PA-AJW Document 29 Filed 08/17/12 Page 17 of 18 Page ID #:137


                                              PROOF OF SERVICE
 'l
1l
      STATE OF CALIFORNTA, COUNTY OF LOS ANGELES
;t
           I am employed in the aforesaid county, State of Californla; I am over the age. of     18
-l years and not âpitty to the within actio!; qy bgsiness address is 1840 Century Park
   i3ast, Suite 1900, Los Angeles, California90067.

                                                                            TECIJ-4'
                  On August 17, 2012,I served the document described as PLAINTIF'F
      KIDS, INC.'S              rrnsr   AMENDED COMPLAINT IDEMAND FOR JI]RY TRIALI
      on the interested parties in this action by placing the true copy thereof, enclosed in a
      sealed envelope, þostage prepaid, addressed as follows:
 8

      Michael H. Selter                               Thomas M. Dunlap
 9
      Manelli & Selter PLLC                           Dunlap Grubb and Weaver PC
10    2000 M Street NW Suite 700                      199 Liberty St SW
      'Washington,                                    Leesburg, VA 2017 5
                   DC 20036
11

t2
l3    T      (BY MAIL)
             I      I deposited such envelope in the mail at Los Angeles, California. The envelope
t4                  was mailed with postage thereon fully prepaid.
15           I      I am readily familiar with the business practice of my place of employment in
                    respect to the collection and processing of correspondence, pleadings and
t6                  notices for mailing with United States Postal Service. The foregoing sealed
I7                  envelope was placed for collection and mailing this date consistent with the
                    ordinary business practice of my place of employment, so that it will be picked
18
                    up this date with postage thereon fully prepaid at Los Angeles, Califomia, in
t9                  the ordinary course of such business.

20    X      (BY E-MArL)

2t            On August 17,20I2,I transmitted the foregoing document(s) by E-mail to the
              parties at their respective e-mail addresses as indicated above. The document was
22            served electronically and the transmission was reported complete and without
              effor.
23

24    I      (BY PERSONAL SERVTCE)
              I caused such envelope to be delivered by hand to the offices of the addressees as
25
              indicated above. Executed on August 17 ,2012, at Los Angeles, California.
26            (BY F'EDERAL EXPRESS) I am readily familiar with the business practice of
              my place of employment in respect to the collection u14 ryo.gssing of
27
                 corrèspondencg pleadings and notices for delivery by Federal Express. Under the
28               practiðe it would be deposited with Federal Express on that same day with postage
                 thereon fully prepared ãt Los Angeles, California in the ordinary course of


                                                PROOF OF SERVICE
      LA 130,431,195v   8-1   5-12
Case 2:12-cv-06769-PA-AJW Document 29 Filed 08/17/12 Page 18 of 18 Page ID #:138


               business. I am aware that on motion of the party served, service is presumed
2l
               invalid if delivery by Federal Express is more than one day after date of deposit
               with Federal Express.
 ,l
,l          (STATE)        I declare under penalty of perjury under the laws of the State of
 -t
              California that the foregoing is true and correct.
 5l
            (FEDERAL) I declare under penalty of perjury that the foregoing is true and
 .l           correct, and that I am employed at the office of a member of the bar of this Court
              at whose direction the service was made.
 7
              Executed on August 17,2012, at Los Angeles, California.
 I
 9

10
                                                      Monica A. Solorzano

11

t2
t3

T4

l5
16

17

18

t9
20

2I
22

23

24

25

26

2t
28



                                            PROOF OF SERVICE
      LA 1 30,431,1 95v   8-1 5-1   2
